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  IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                            PENNSYLVANIA

  DAVID URBAN, JANE LINK, GERALD
  MACKRELLA and FAIR HOUSING
  PARTNERSHIP OF GREATER PITTSBURGH,

                          Plaintiffs,                      Civil Action No.:   2:22-cv-938
                          v.

  BOROUGH OF WEST VIEW, PENNSYLVANIA, Electronically Filed

                          Defendant.




                                        VERIFIED COMPLAINT

       I.       PRELIMINARY STATEMENT

       1.       Plaintiffs David Urban, Jane Link, Gerald Mackrella, and the Fair Housing

Partnership of Greater Pittsburgh (collectively “Plaintiffs”) bring this civil rights action to

remedy unlawful discrimination on the basis of disability by the Borough of West View,

Pennsylvania (“West View” or “Defendant”).

       2.       Plaintiffs Urban, Link, and Mackrella are residents of the Borough of West View,

and each has a disability that substantially limits their ability to walk long distances.

       3.       As a result of their disability, each of the Plaintiffs needs access to a

handicap parking space in front of their home, in order to have meaningful access to the

on-street parking in front of their homes, which allows them to have full use and

enjoyment of their homes.
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       4.       Because of this need for access to an on-street parking spot in front of

their homes, Plaintiffs Urban, Link and Mackrella each submitted applications to the

Borough of West View for a “handicap parking permit,” in accordance with the

procedural requirements of West View’s Ordinance No. 1503 “Establishing Criteria as to

the Issuance of Handicap Parking Permits within the Borough” (“Ordinance 1503”).

Each of these applications included evidence that the Plaintiff had been issued a

handicapped license plate or a disabled veteran license plate by the Pennsylvania

Department of Transportation as well as written verification by the Plaintiff’s treating

physician as to the need for this accommodation.

       5.       Defendant West View denied each of the Plaintiffs’ requests for a

handicap parking permit because the Plaintiffs did not have one of three particular

disabilities enumerated in Ordinance 1503, which, on its face, prohibits the issuance of a

handicap parking permit unless:

                i. The applicant is wheelchair bound;

                ii. The applicant has severe cardiopulmonary insufficiency requiring
                the use of ambulatory oxygen;

                iii. The applicant requires use of a prosthetic device(s) that restricts
                normal ambulation; and/or

                iv. The person requesting the permit is caring for a person who meets
                one of the criteria of (i), (ii) and/or (iii).

       6.       In denying two of the applications, West View also referenced the categorical

prohibition codified in Ordinance 1503 against granting handicap parking permits to applicants

who have off-street parking, despite verifications provided from these Plaintiffs’ treating
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physicians stating that access to on-street parking in front of the home was necessary due to their

mobility impairments.

           7.       In denying one of the applications, West View also referenced the categorical

prohibition codified in Ordinance 1503 against “more than one (1) handicapped parking space . .

. on any block where parking is permitted on only one side of the street” or “more than two (2)

handicapped parking spaces . . . on any block where parking is permitted on…both sides of the

street.”

           8.       Having been denied this important accommodation by Defendant West View,

Plaintiffs Urban, Link, and Mackrella each connected with the Fair Housing Partnership of

Greater Pittsburgh, which investigated these denials and attempted to assist Plaintiffs in engaging

West View to reconsider their accommodation requests, to no avail.

           9.       As set forth more fully herein, the Plaintiffs allege that Defendant West View

engaged in a pattern or practice of unlawful discrimination by knowingly and intentionally

denying Plaintiffs Urban, Link, and Mackrella meaningful access to the on-street parking in front

of their homes, which had the effect of inhibiting each Plaintiffs’ full use and enjoyment of their

homes, and by failing to grant these Plaintiffs the reasonable accommodation of an accessible

on-street parking space near their homes.

           10.      Plaintiffs further allege that Ordinance 1503, both on its face and as applied by

the Defendant, unlawfully discriminates against individuals with certain types of mobility-

impairing disabilities when compared to the subgroups of individuals with disabilities

enumerated in Ordinance 1503.
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       11.     Defendant’s Ordinance 1503, on its face and as applied by the Defendant, has

rendered West View’s on-street parking in residential neighborhoods unavailable to people with

certain categories of mobility-impairing disabilities.

       12.     The Plaintiffs bring this action pursuant to Section 504 of the Rehabilitation Act,

29 U.S.C. §794, and its implementing regulations (“Section 504”); Title II of the Americans with

Disabilities Act, 42 U.S.C. §12131 et seq., and its implementing regulations (“ADA”); and the

Fair Housing Act, 42 U.S.C. §3601 et seq., and its implementing regulations (“FHA”).

       13.     Defendant West View’s violations of these federal civil rights laws have thwarted

Congress’s intent to eradicate discrimination against people with disabilities and to ensure that

people with disabilities can reside in integrated settings.

       14.     The Plaintiffs seek declaratory relief, injunctive relief, and damages for

Defendant’s discrimination.

       II.     JURISDICTION AND VENUE

       15.     This court has subject matter jurisdiction pursuant to 28 U.S.C. §§1331, 1343,

       2201, 2202, and 42 U.S.C. §3613

       16.     Venue is proper in this district under 28 U.S.C. §1391, because a substantial part

of the events or omissions giving rise to the claims occurred within this District and because

Defendant operates, conducts business, and performs official duties therein and thus reside there

for purposes of venue.

       III.    PARTIES
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       17.     Plaintiff David Urban is a 77-year-old U.S. military veteran and resident of the Borough of West

View. He owns his home and resides with his wife, who, along with their daughter, assists Mr.

Urban with his mobility. Due to complications related to heart issues and successive strokes, Mr.

Urban is unable to walk without assistance and, when walking with assistance, has difficulty

walking even short distances, especially over uneven terrain.

       18.     Plaintiff Jane Link is a 62-year-old resident of West View, who owns her home

and resides with her husband. Ms. Link has psoriatic arthritis and spinal stenosis, which often

severely limit her ability to walk. Ms. Link’s home has no off-street parking and is accessible

only from the front. Due to her psoriatic arthritis and spinal stenosis, Ms. Link needs to park in a

space that is close to her home; otherwise, these impairments inhibit her ability to walk from her

car to her front door.

       19.     Plaintiff Gerald Mackrella is a 63-year-old homeowner and resident of West

View. Mr. Mackrella has arthritis in his knees and has suffered a heart attack and stroke. Mr.

Mackrella’s arthritis requires periodic cortisone shots, without which he cannot walk any

distance. Although Mr. Mackrella has an alley and parking pad in the rear of his home, using

this parking pad requires him to traverse approximately 14 stairs and a narrow, sloped walkway

to reach his home. Due to his medical conditions, Mr. Mackrella is unable to safely climb the

stairs and sloped walkway behind his home and can only manage to walk the short distance

between the street parking in front of his home and his front door.

       20.     Plaintiff Fair Housing Partnership of Greater Pittsburgh (FHP) is a nonprofit

corporation organized under the laws of the Commonwealth of Pennsylvania with its principal

place of business at 2840 Liberty Avenue, Suite #205, Pittsburgh, PA. FHP is a full-service fair

housing organization that ensures equal housing choice through education, fair housing analysis,
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testing, outreach, and community organizing in western Pennsylvania. FHP engages in activities

to identify barriers to fair housing in western Pennsylvania, and to counteract and eliminate any

such discriminatory practices. FHP also takes steps necessary to protect the rights of individuals

in regards to housing choice. Many individuals bring complaints of housing discrimination to

FHP. FHP counsels these individuals on the options available to them to obtain access to housing

and refers them to appropriate government and community agencies for assistance. In addition,

FHP advocates on behalf of individuals in administrative complaints.

       21.     Defendant West View is, and at all times relevant to this action was, a municipal

corporation organized under the laws of the Commonwealth of Pennsylvania.

       22.     At all times relevant to this action, Defendant West View acted pursuant to its

duly authorized employees, who acted within the scope of their employment.

       23.     At all relevant times, Defendant West View has been a public entity within the

meaning of Title II of the ADA.

       24.     Defendant West View has and continues to receive federal financial assistance

within the meaning of the Rehabilitation Act, including but not limited to federal grant funds

under the Community Development Block Grant Program and the American Rescue Plan Act.

       25.     Defendant West View provides, maintains, controls, and regulates on-street

parking throughout the Borough of West View, including by issuing handicap parking permits to

applicants and, upon approval, erecting as close as possible to their place of residence a sign or

signs indicating that such place is reserved for persons with disabilities and that no parking is

allowed by individuals without disabilities. See Borough of West View Ordinance 1503,
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attached hereto as Exhibit 1; see also Borough of West View, Article III Parking Regulations,

available at https://ecode360.com/16012541.

        IV.    FACTS

        West View’s Ordinance 1503

        26.    Defendant West View enacted Ordinance 1503 in 2019.

        27.    Ordinance 1503 regulates West View’s process and criteria for issuing “handicap

parking permits” to applicants with disabilities. See Exhibit 1.

        28.    If approved, the “permit” results in West View erecting “as close as possible to

their place of residence” a sign or signs indicating that such place is reserved for persons with

disabilities and that no parking is allowed by others who are not individuals with disabilities.

Ibid.

        29.    A handicap parking permit issued pursuant to Ordinance 1503 does not create an

assigned parking spot for the applicant. Rather, when the permit is approved, West View erects a

handicap parking spot as close as possible to, though typically directly in front of, the home of

the applicant, but this spot may be used by any individual with a handicapped license placard or

license plate or a disabled veteran license plate. Ibid.

        30.    Under Ordinance 1503, any resident of West View with a handicapped license

placard or license plate or a disabled veteran license plate may apply for a handicap parking

permit by filling out an application with the West View Police Department. Ibid.
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       31.     However, as stated in Ordinance 1503, West View will only approve an

application for a handicap parking permit if the applicant has one of three enumerated disabilities

or is caring for someone with one of these enumerated disabilities:

               i. The applicant is wheelchair bound;
               ii. The applicant has severe cardiopulmonary insufficiency requiring
               the use of ambulatory oxygen;
               iii. The applicant requires use of a prosthetic device(s) that restricts
               normal ambulation; and/or
               iv. The person requesting the permit is caring for a person who meets
               one of the criteria of (i), (ii) and/or (iii).

       32.     Ordinance 1503 also proscribes, without exception, that West View will issue

“[n]o more than one (1) handicapped parking space . . . on any block where parking is permitted

on only one side of the street” and “[n]o more than two (2) handicapped parking spaces . . . on

any block where parking is permitted on…both sides of the street.” Ibid.

       33.     Ordinance 1503 designates and vests “the Police Chief or his designee” with the

responsibility to adjudicate and render final determinations on applications for on-street

disability designated parking spaces in West View. Ibid.

       34.     Communications from the Police Chief to the Plaintiffs and the public indicate

that Defendant West View intentionally limits the number of handicap parking permits that are

issued within the borough.

       35.     For example, when West View denied Plaintiff Mackrella’s first application for a

handicap parking spot in 2015, the Police Chief informed Mr. Mackrella that “[a]s a result of the

extreme limited parking within the borough[,] [w]e are not issuing handicapped spots at this time

unless someone is debilitated to the point of a wheel chair. . . . If we honored every request for
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handicapped parking we would literally have handicapped parking spots covering 80% of our

roadways.”

       36.      Communications from the Police Chief to the Plaintiffs and the public indicate

that West View intentionally enacted Ordinance 1503 in order to codify its practice of limiting or

curbing the number of disability designated street parking spots within the borough.

       37.      For example, at a 2018 Town Council Meeting, the West View Police Chief told a

West View resident who complained about the presence of a handicap parking spot on the street

in front of his home that “no handicap spaces have been issued since 2014” and that he “has been

talking to the Solicitor on an ordinance regarding this situation.” Ordinance 1503 was enacted

the following year.

       West View’s Denial of David Urban’s Requests for a Handicap Parking Permit

       38.      Plaintiff David Urban resides in West View in a home that he purchased with his

wife in 1975.

       39.      A United States veteran, Mr. Urban had always been able to climb the

approximately 15 stairs necessary to reach his home from the street curb in front of his property,

until the late 2000s when he experienced a series of health issues.

       40.      Mr. Urban suffered three strokes between approximately 2016 and 2020. Due to a

bladder infection caused by the most recent stroke, Mr. Urban uses a catheter and urine bag.

       41.      Mr. Urban was diagnosed with chronic heart dysfunction in or around 2016 and

chronic kidney dysfunction in or around 2019, which requires daily in-home dialysis.
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         42.   These medical conditions severely limit Mr. Urban’s mobility, such that he can no

longer walk without assistance and even with assistance cannot walk any sustained distance or

over uneven terrain. When Mr. Urban needs to move, he does so by using a walker or by using a

motorized stair lift and often with hands-on assistance from his wife or daughter, who visits

regularly.

         43.   As a result of Mr. Urban’s limited mobility, he applied for and obtained a

“Persons with Disabilities Registration Plate” from the Pennsylvania Department of

Transportation (“PennDOT”). This license plate qualifies Mr. Urban to park in areas reserved for

persons with a disability in all 50 states of the United States. See

https://www.dmv.pa.gov/Information-Centers/Business-Partner/Pages/Parking-Placards.aspx.

         44.   To help him maintain his independence and his residency in his home, the U.S.

Department of Veterans Affairs (“VA”) provided Mr. Urban with stair lifts to manage both the

stairs from his curbside to the entry of his home and the stairs between the first and second floors

of his home.

         45.   The VA also provided graduated, wraparound aluminum ramping to enable Mr.

Urban to avoid the few stairs at the entry of his home without having to traverse too steep of a

grade.

         46.   With the help of his wife and daughter, Mr. Urban is able to get to his doctors’

visits and other business outside of the home.

         47.   In order to get from his car to his home, Mr. Urban parks his car at the curb

directly in front of his outdoor stair lift; his wife or daughter assists him out of the car and onto
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the stair lift; and they assist him, with the help of his walker, up the graduated ramp and into the

home.

        48.     While Mr. Urban’s home has a driveway in front of the home, he is unable to

walk the terrain between his driveway and his outdoor chair lift, which includes a sloped

driveway and a grass path. Instead, Mr. Urban relies upon the availability of on-street parking at

the curb directly in front of his outdoor chair lift.

        49.     When this parking space is occupied, Mr. Urban is unable to leave his home.

        50.     Due to his medical conditions and the consequent need for access to parking that

is adjacent to his outdoor stair lift, on or about June 12, 2019, Mr. Urban applied to West View

for a “handicap parking permit.”

        51.     When he submitted his application, Mr. Urban completed all elements of the

application and satisfied all of the procedural requirements of Ordinance 1503, including

presenting evidence of his Pennsylvania-issued disability license plate.

        52.     As required, Mr. Urban also attached to the application a signed verification from

his treating physician, attesting to his need for a disability designated parking space directly in

front of his outdoor chair lift.

        53.     In reviewing Mr. Urban’s application for the accommodation, West View never

engaged a physician to evaluate the necessity of his request.

        54.     West View never in any way challenged the veracity or accuracy of the attestation

provided by Mr. Urban’s treating physician.
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          55.   Nevertheless, Defendant West View denied Mr. Urban’s request, referencing,

during West View’s onsite visit, the fact that Mr. Urban’s property contains a driveway and

garage.

          56.   Again, Mr. Urban could not and cannot traverse his sloped driveway or the

grassy, uneven path from his driveway to his stair lift due to the distance and uneven terrain,

especially in inclement weather, which Mr. Urban explained to West View during the onsite

visit.

          57.   Mr. Urban cannot and does not utilize his garage to enter or exit his home, as

there is no chair lift connecting his living space to his basement and garage.

          58.   Mr. Urban’s treating physician also had explained the need for on-street parking

adjacent to Mr. Urban’s outdoor stair lift in the verification submitted to West View.

          59.   Although he does not use a wheelchair or rely on ambulatory oxygen or a

prosthetic device, Mr. Urban’s limited mobility is readily apparent, as is the nexus between his

limited mobility and his need for the stair lift installed on his exterior stairs.

          60.   FHP worked with and on behalf of Mr. Urban to try to redress Defendant West

View’s discriminatory policy and practices, including by assisting Mr. Urban in submitting an

administrative complaint to the U.S. Department of Housing and Urban Development to

challenge West View’s denial of his accommodation request. This complaint remains pending.

Conciliation in that forum has not progressed, nor has a hearing been scheduled.

          61.   Defendant’s policy, practice, and pattern of denying handicap parking permits to

individuals with certain types of mobility-impairing disabilities, like Plaintiff Urban, frustrates

FHP’s mission of ensuring equal housing opportunities in western Pennsylvania.
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        62.    Defendant’s policy, practice, and pattern of denying these permits to otherwise-

qualified individuals who have off-street parking, even when that off-street parking is not

accessible to the individual due to their disability, as with Mr. Urban, also frustrates FHP’s

mission of ensuring equal housing opportunities in western Pennsylvania.

        63.    Defendant’s policy, practice, and pattern of failing to provide reasonable

accommodations when requested by otherwise-eligible applicants who are seeking a

handicapped parking permit, or to even engage in a reasonable accommodation review process,

as was the case with Mr. Urban, frustrates FHP’s mission of ensuring equal housing

opportunities in western Pennsylvania.

        64.    In attempting to redress Defendant’s discriminatory policies and practices on

behalf of Mr. Urban, FHP had to divert its limited resources, including resources that would have

otherwise been used for fair housing analysis, outreach, community organizing, testing, or other

activities.

        West View’s Denial of Jane Link’s Requests for a Handicap Parking Permit

        65.    Plaintiff Jane Link lives in West View in a home that she purchased with her

husband in 1983.

        66.    In 2011, Ms. Link was diagnosed with psoriatic arthritis.

        67.    Psoriatic arthritis is a degenerative impairment that substantially limits Ms. Link’s

ability to walk and causes her significant pain in her joints, hips, feet, back, and neck.

        68.    Ms. Link’s psoriatic arthritis continues to degenerate.
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        69.    Ms. Link was also diagnosed with spinal stenosis. This condition causes her pain

when walking or standing, often severe pain.

        70.    Ms. Link has received periodic cortisone shots and infusions, and recently began

receiving injectable treatments to help relieve the symptoms of these conditions.

        71.    Ms. Link’s medical conditions often limit her ability to walk. She can only walk

short distances and thus needs to park close enough to her house so that there is only a short

distance between her car and her front door.

        72.    As a result of Ms. Link’s limited mobility, she applied for and obtained a Persons

with Disabilities Registration Plate from PennDOT. This license plate qualifies Ms. Link to park

in areas reserved for persons with a disability in all 50 states of the United States.

        73.    Ms. Link is gainfully employed and uses a car as her main form of transportation.

        74.    Ms. Link’s home has no access to off-street parking or any other forms of parking

besides on-street parking.

        75.    Ms. Link lives on a street where street parking is only available on one side of the

road.

        76.    There are no disability designated parking spaces on Ms. Link’s street.

        77.    Ms. Link is often unable to park close to her home because the street parking

spaces closest to her door are regularly taken by other cars.

        78.    When Ms. Link cannot find a parking space close to her home, she must walk

long distances to reach her front door.
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       79.     Walking these distances is very difficult for Ms. Link, especially in the winter or

during inclement weather, and it is exceedingly difficult when her psoriatic arthritis and/or

stenosis is inflamed.

       80.     Street parking near her door is least accessible in the evenings and on weekends,

leading Ms. Link to avoid leaving her home if she knows she must arrive back to her home at

these times.

       81.     Due to her medical conditions, which impact Ms. Link’s ability to walk, including

her ability to walk from her car to her front door, Ms. Link applied to the Borough of West View

for a “handicap parking permit” in or around 2018, 2019, and 2020.

       82.     Defendant West View denied each of Ms. Link’s applications for a handicap

parking permit, most recently in 2020.

       83.     In her 2020 application, Ms. Link completed all necessary paperwork in

accordance with the procedural requirements of Ordinance 1503, including providing a written

verification from her rheumatologist of the need for the designated parking space and evidence

of her Pennsylvania-issued disability placard and license plate.

       84.     In denying Ms. Link’s 2020 application for the accommodation, West View never

engaged a physician to evaluate the necessity of her request.

       85.     West View never in any way challenged the veracity or accuracy of the attestation

provided by Ms. Link’s treating physician.
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       86.     When Ms. Link spoke by phone with West View to question the 2020 denial, she

was informed that West View was checking on the number of disability designated parking

spaces already issued in the borough.

       87.     On a separate call with West View, Ms. Link was informed that her request would

not be granted unless she was wheelchair bound. The borough employee suggested that Ms. Link

obtain a wheelchair in order to satisfy the borough’s requirement. The borough employee

indicated that the borough would not verify whether she actually uses a wheelchair so long as she

demonstrated that she possessed one.

       88.     FHP worked with and on behalf of Ms. Link to try to redress Defendant’s

discriminatory policy and practices, including by assisting Ms. Link in submitting an

administrative complaint to the U.S. Department of Housing and Urban Development to

challenge West View’s denial of her accommodation requests. This complaint remains pending.

Conciliation in that forum has not progressed, nor has a hearing been scheduled.

       89.     Defendant’s policy, practice, and pattern of denying handicap parking permits to

individuals with certain types of mobility-impairing disabilities, like Ms. Link, as well as

Defendant’s failure to provide reasonable accommodations when requested by otherwise-eligible

applicants who are seeking a handicapped parking permit, or to even engage in a reasonable

accommodation process, as with Ms. Link, frustrates FHP’s mission of ensuring equal housing

opportunities in western Pennsylvania.

       90.     In attempting to redress Defendant’s discriminatory policies and practices on

behalf of Ms. Link, FHP had to divert its limited resources, including resources that would have
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otherwise been used for fair housing analysis, outreach, community organizing, testing, or other

activities.

          West View’s Denial of Mr. Mackrella’s Requests for a Handicap Parking Permit

          91.     Plaintiff Gerald Mackrella lives in West View in the home where his parents

lived, which he purchased from his parents in 1989.

          92.     His street, which slopes down the side of a hill, has on-street parking that is

limited to only one side of the street.

          93.     Mr. Mackrella has chronic, sometimes debilitating arthritis in his knees, for which

he receives periodic cortisone shots that enable him to walk. He also has arthritis in his lower

back.

          94.     Mr. Mackrella also suffers from degenerative coronary artery disease, pulmonary

hypertension, and congestive heart failure, which limit his ability to walk long distances or

otherwise endure strenuous walking.

          95.     Mr. Mackrella had a heart attack in 2017 and a stroke in 2018.

          96.     Mr. Mackrella’s heart attack and stroke compounded the mobility impairments

caused by his long-term disabilities. Mr. Mackrella’s stroke also causes him to suffer significant

balance issues.

          97.     As a result of Ms. Mackrella’s limited mobility, he applied for and obtained a

Persons with Disabilities Registration Plate from PennDOT. This license plate qualifies Mr.

Mackrella to park in areas reserved for persons with a disability in all 50 states of the United

States.
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       98.     In years past, the limited parking and sloped terrain of Mr. Mackrella’s street did

not bother him, in part because he had access to a parking pad via an alley in the rear of his

home. To get to his home from this parking pad, Mr. Mackrella would climb approximately 14

stairs and a narrow, sloped walkway connecting the parking pad and back yard to his house.

       99.     Due to the mobility issues caused by his medical conditions, these days, Mr.

Mackrella cannot walk the path from his parking pad to the entrance of his home. Instead, Mr.

Mackrella relies on having access to street parking directly in front of his home.

       100.    Due to the limited mobility caused by these medical conditions, Mr. Mackrella

applied to the Borough of West View for a “handicap parking permit” on multiple occasions

between approximately 2015 and 2020. Each time he was denied.

       101.    In his most recent application to West View for a handicap parking permit, Mr.

Mackrella satisfied all of the procedural requirements of Ordinance 1503, including presenting

evidence of his Pennsylvania-issued disability placard and license plate and submitting a signed

verification from his treating physician attesting to his need for a disability designated parking

space in front of his home.

       102.    In reviewing Mr. Mackrella’s application for the accommodation, West View

never engaged a physician to evaluate the necessity of the request.

       103.    West View never in any way challenged the veracity or accuracy of the attestation

provided by Mr. Mackrella’s physician.

       104.    Nevertheless, West View denied Mr. Mackrella’s request on the grounds that Mr.

Mackrella was not wheelchair confined, did not require the use of ambulatory oxygen, and did

not require the use of a prosthetic device(s) that restricts normal ambulation.
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       105.    In denying Mr. Mackrella’s applications, West View also cited the existence of

the off-street parking pad behind Mr. Mackrella’s home, which, again, Mr. Mackrella cannot

access from his home due the mobility impairments caused by his disabilities.

       106.    Not having a handicap parking permit has significantly impeded Ms. Mackrella’s

ability to use and enjoy his home. For example, following his stroke in 2018, Mr. Mackrella was

prescribed physical therapy sessions outside his home as part of his recovery plan. Because West

View denied him a handicap parking permit, Mr. Mackrella could not get from his home to a car,

and thus had no ability to get from his home to his physical therapy sessions. As a result, Mr.

Mackrella could not remain in his home during the early part of his recovery, and instead was

forced to move in with his daughter for approximately two months, so that he could attend his

physical therapy sessions. Thus, a direct result of West View denying Mr. Mackrella the

reasonable accommodation of a handicap parking permit, was that Mr. Mackrella was forced to

move to a different residence for an extended period of time.

       107.    FHP worked with and on behalf of Mr. Mackrella to try to redress Defendant’s

discriminatory policies and practices, including by assisting Mr. Mackrella in submitting an

administrative complaint to the U.S. Department of Housing and Urban Development to

challenge West View’s denial of his accommodation requests. This complaint remains pending.

Conciliation in that forum has not progressed, nor has a hearing been scheduled.

       108.    Defendant’s policy, practice, and pattern of denying handicap parking permits to

individuals with certain types of disabilities related to mobility, like Mr. Mackrella, frustrates

FHP’s mission of ensuring equal housing opportunities in western Pennsylvania.
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        109.    Defendant’s policy, practice, and pattern of denying these permits to otherwise-

qualified individuals who have off-street parking when that off-street parking is not accessible to

the individual due to their disability, as with Mr. Mackrella, also frustrates FHP’s mission of

ensuring equal housing opportunities in western Pennsylvania.

        110.    Defendant’s policy, practice, and pattern of failing to provide reasonable

accommodations when requested by otherwise-eligible applicants who are seeking a

handicapped parking permit, or to even engage in a reasonable accommodation review process,

as was the case with Mr. Mackrella, frustrates FHP’s mission of ensuring equal housing

opportunities in western Pennsylvania.

        111.    In attempting to redress Defendant’s discriminatory policies and practices on

behalf of Mr. Mackrella, FHP had to divert its limited resources, including resources that would

have otherwise been used for fair housing analysis, outreach, community organizing, testing, or

other activities.

V.      CLAIMS FOR RELIEF

A. COUNT 1: Violation of the Americans with Disabilities Act, 42 U.S.C. §12131 et seq.

        112.    Plaintiffs reallege and incorporate each and every allegation contained in the foregoing

paragraphs.

        113.    The Americans with Disabilities Act (ADA) was enacted “to provide a clear and

comprehensive national mandate for the elimination of discrimination against individuals with

disabilities” with “clear, strong, consistent, enforceable standards . . . in order to address the

major areas of discrimination faced day-to-day by people with disabilities.” 42 U.S.C.

§12101(b).
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        114.      All public entities, including state and local governments and their departments,

agencies, and instrumentalities, must comply with the ADA.

        115.      The ADA provides that “no qualified individual with a disability shall, by reason

of such disability, be excluded from participation in or be denied the benefits of services,

programs, or activities of a public entity, or be subjected to discrimination by such entity.” 42

U.S.C. §12132.

        116.      “Discrimination” under the ADA includes “a failure to make reasonable

modifications in policies, practices, or procedures, when such modifications are necessary to

afford such . . . services, programs or activities . . . to individuals with disabilities . . .” 42 U.S.C.

§12182(b)(2)(A).

        117.      The ADA also “prohibit[s] discrimination against one ‘subgroup’ of disabled

people as compared to another subgroup if the characteristic distinguishing the two subgroups is

the nature of their respective disability.” CG v. Pennsylvania Dep't of Educ., 734 F.3d 229, 236

(3d Cir. 2013).

        118.      The ADA requires covered entities to provide people with disabilities meaningful

access to programs, services, and activities. Crowder v. Kitagawa, 81 F.3d 1480 (9th Cir. 1996)

(citing Helen L. v. DiDario, 46 F.3d 325, 335 (3d Cir.)). This meaningful access requirement

applies across the board to all of a covered entity’s programs, services, and activities. Id.

        119.      On-street parking is a city service, program, or activity within the meaning of the

ADA, and cities can be liable under the ADA for denying requests for accessible street parking

as a reasonable accommodation or modification for disabilities. E.g. Bassilios v. City of

Torrance, CA, 166 F. Supp. 3d 1061, 1065 (C.D. Cal. 2015).
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       120.    The ADA’s broad statutory mandate for accessibility requires public entities to

make street parking accessible. E.g. Fortyune v. City of Lomita, 823 F. Supp. 2d 1036, 1039

(C.D.Cal. 2011).

       121.    Each individual Plaintiff named in this complaint is a qualified individual with a

disability within the meaning of the ADA.

       122.    Defendant West View is a public entity within the meaning of Title II of the

ADA.

       123.    By their policies, practices and conduct described herein, Defendant West View

discriminated on the basis of disability in violation of the ADA, including by:

           a. Denying Plaintiffs’ requests for accessible on-street parking spaces as a

               reasonable accommodation or modification to Defendant West View’s policies,

               practices, or procedures, so that Plaintiffs could enjoy the same benefit of

               curbside parking as a person without a mobility-impairing disability enjoys; and

           b. Excluding Plaintiffs from, or denying them meaningful access to, Defendant West

               View’s street parking program/service based on the nature of their mobility-

               impairing disabilities.

B. COUNT 2: Violation of Section 504 of the Rehabilitation Act, 29 U.S.C. §794 et seq.

       124.    Plaintiffs reallege and incorporate each and every allegation contained in the foregoing

paragraphs.

       125.    The purpose of the Rehabilitation Act of 1973 is to “maximize employment,

economic self-sufficiency, independence, and inclusion and integration into society” of people
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with disabilities. 29 U.S.C. §701(b)(1). The Rehabilitation Act is based on findings that “the

goals of the Nation properly include the goal of providing individuals with disabilities with the

tools necessary to . . . achieve equality of opportunity, full inclusion and integration in society,

employment, independent living, and economic and social self-sufficiency.” 29 U.S.C.

§701(a)(5) and (6)(B).

       126.    All entities receiving federal financial assistance must comply with the anti-

discrimination provisions of Section 504 of the Rehabilitation Act. 29 U.S.C. §794(a).

       127.    Section 504 states, “[n]o otherwise qualified individual with a disability . . . shall,

solely by reason of his or her disability, be excluded from participation in, be denied the benefits

of, or be subjected to discrimination under any program or activity receiving Federal financial

assistance . . .” 29 U.S.C. §794.

       128.    Section 504 requires covered entities to provide people with disabilities

meaningful access to programs and activities. Alexander v. Choate, 469 U.S. 287 (1985). Where

the covered entity is a local government, the meaningful access requirement applies broadly to

“all of the operations of a department, agency, special purpose district, or other instrumentality

of . . . a local government . . . any part of which is extended Federal financial assistance.” 29

U.S.C. §794(b).

       129.    On-street parking is a program or activity within the meaning of Section 504, and

local governments can be liable under Section 504 for denying requests for accessible street

parking as a reasonable modification for disabilities. See, e.g. Bassilios, 166 F. Supp. 3d at 1065.

       130.    Section 504 not only prohibits discrimination against disabled persons compared

to nondisabled persons, but also discrimination against one subgroup of disabled persons as
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compared to a different subgroup of disabled persons. E.g. CG v. Pennsylvania Dep't of Educ.,

734 F.3d at 236.

       131.    Each individual Plaintiff named in this complaint is an individual with a disability

within the meaning of Section 504.

       132.    Defendant is a recipient of federal financial assistance within the meaning of

Section 504.

       133.    By their policies, practices and conduct described herein, Defendant West View

discriminated on the basis of disability in violation of Section 504, including by engaging in the

following actions or omissions:

           a. Denying Plaintiffs’ requests for accessible on-street parking spaces as a

               reasonable accommodation or modification to Defendant West View’s programs,

               services, or activities, so that Plaintiffs could enjoy the same benefit of curbside

               parking as a person without a mobility related disability enjoys; and

           b. Excluding Plaintiffs from, or denying them the benefits of, Defendant West

               View’s street parking program/service based on the nature of their mobility-

               impairing disabilities.

C. COUNT 3: Violation of the Fair Housing Act, 42 U.S.C. §3601 et seq.


       134.    Plaintiffs reallege and incorporate each and every allegation contained in the foregoing

paragraphs.
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       135.     Congress passed the Fair Housing Act (“the FHA”), as amended in 1988, “to

provide, within constitutional limitations, for fair housing throughout the United States.” 42

U.S.C. §3601.

       136.     It is “unlawful” under the FHA “[t]o discriminate against any person . . . in the

provision of services or facilities in connection with [a] dwelling, because of a handicap of that

person . . .” 42 U.S.C. §3604(f).

       137.     For the purposes of §3604(f), “discrimination includes . . . a refusal to make

reasonable accommodations in rules, policies, practices, or services, when such accommodations

may be necessary to afford such person equal opportunity to use and enjoy a dwelling.” 42

U.S.C. §3604(f)(3).

       138.     The FHA defines a “handicap” as: “(1) a physical or mental impairment which

substantially limits one or more of such person's major life activities, (2) a record of having such

an impairment, or (3) being regarded as having such an impairment . . .” 42 U.S.C. §3602(h).

       139.     Each individual Plaintiff named in this complaint is an individual with a physical

impairment which substantially limits one or more major life activity within the meaning of the

FHA, including walking.

       140.     By their policies, practices and conduct described herein, Defendant West View

discriminated intentionally, recklessly, or with callous indifference on the basis of “handicap” or

disability in violation of the FHA, including by:

           a. Denying Plaintiffs’ requests for accessible on-street parking spaces as a

                reasonable accommodation or modification to Defendant West View’s street
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             parking program/service, when such accommodations were necessary to afford

             Plaintiffs an equal opportunity to use and enjoy their dwellings;

         b. Denying Plaintiffs the provision of services in connection with a dwelling because

             of their disabilities; and

         c. Denying Plaintiffs meaningful access to their dwellings by excluding Plaintiffs

             from, or denying them meaningful access to, Defendant West View’s street

             parking program/service based on the nature of their mobility-impairing

             disabilities.

VI.   PRAYER FOR RELIEF

      141.   WHEREFORE, Plaintiffs respectfully request that the court:

         a. Declare that Defendant West View’s Ordinance, policies, practices, acts, and

             omissions, as set forth above, violate the ADA, Section 504, and the FHA, and

             that Defendant West View’s discriminatory conduct, as described above, was

             intentional, reckless, and/or taken in callous disregard for the rights of others;

         b. Permanently enjoin Defendant West View from engaging in the conduct

             described herein;

         c. Order Defendant West View to take all affirmative steps necessary to remedy the

             effects of the conduct described herein and to prevent additional instances of such

             conduct or similar conduct from occurring in the future, including by

             implementing any policy changes necessary to create a procedure where people

             with disabilities have meaningful access to street parking spaces and can request
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              accessible street parking spaces in a way that requires Defendant West View to

              consider the individual circumstances of each applicant;

          d. Order Defendant West View to designate a section of the curb outside of each

              Plaintiff’s residence as a disabled street parking space;

          e. Award monetary relief to the Plaintiffs as authorized by law and established in

              this case, including, compensatory damages to Plaintiffs in an amount to be

              determined at trial that would fully compensate Plaintiffs for the injuries caused

              by the conduct of Defendant alleged herein;

          f. Award reasonable attorneys’ fees and costs; and

          g. Award such other and further relief as this court may deem just and proper.


Respectfully submitted,
/s/ Kevin Quisenberry                        Date: June 27, 2022
Kevin Quisenberry, Esq.
Pa. I.D. #90499
kquisenberry@cjplaw.org

/s/ Jacqueline Perlow
Jacqueline Perlow, Esq.
Pa. I.D. #321594
jperlow@cjplaw.org

Community Justice Project
100 Fifth Ave. Suite 900
Pittsburgh, PA 15222
(412) 434-6002
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                         Exhibit 1
    Borough of West View’s Ordinance 1503
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                                BOROUGH OF WEST VIEW
                                  ORDINANCE NO. 1503

      AN ORDINANCE OF THE BOROUGH OF WEST VIEW, ALLEGHENY COUNTY,
      COMMONWEALTH OF PENNSYLVANIA, ESTABLISHING CRITERIA AS TO THE
      ISSUANCE OF HANDICAP PARKING PERMITS WITHIN THE BOROUGH.

      NOW, THEREFORE, BE IT ORDAINED AND ENACTED, by the Council of the

Borough of West View, Allegheny County, Commonwealth of Pennsylvania, that the

following criteria as to the issuance of handicap parking permits within the Borough of West

shall be adopted:

          1. That any handicapped person or severely disabled veteran who desires to have
             the Borough erect on the highway as close as possible to their place of residence
             a sign or signs indicating that such place is reserved for a handicapped person or
             severely disabled veteran, that no parking is allowed by others who are not
             handicapped or severely disabled, and that any unauthorized person parking
             there shall be subject to a $50.00 fine, pursuant to the provisions of §3354(d) of
             the Pennsylvania Motor Vehicle Code, 75 Pa.C.S.A §3354(d), shall, on an
             annual basis, make application for the erection of such sign or signs to the
             Borough, and which application shall include, but not be limited to, the
             following information:
                 A. A vehicle must be registered to a handicapped resident and the vehicle
                     must be driven by the handicapped person, or a family member who also
                     resides at the same address.
                 B. A copy of the current special registration plate for one passenger car or
                     other vehicle with a registered gross weight of not more than 9,000
                     pounds, designating the vehicle so licensed as being used by a
                     handicapped person pursuant to §1338(a) of the Pennsylvania Motor
                     Vehicle Code, 75 Pa.C.S.A. §1338(a).
                 C. Verification of one of the requirements listed in Section 3(G)(i) through
                     (iv) of this Ordinance, said proof to be provided, in writing, by one of
                     applicant’s treating physicians, with said verification to be signed by the
                     treating physician.

          2. An application or renewal for the erection of a sign or signs from a handicapped
             person or severely disabled veteran under the provisions of this Section shall be
             made to the Chief of Police or his designee on an annual basis, which year shall run
             from January 1st through December 31st of the following year and any applications
             for the subsequent calendar year must be filed by December 31st of the current
             calendar year. Otherwise, if new applications or renewal applications for the
             erection of such signs are not filed with the Chief of Police or his designee by
             December 31st of the calendar year, they shall expire on December 31st of that
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    same calendar year, and shall not be valid for the subsequent calendar year until
    such time as they can actually be approved by the Chief of Police or his designee.
    All handicapped parking spaces permitted prior to the effective date of this
    Ordinance shall be allowed to remain as located but must be renewed annually
    beginning January 1, 2020.

 3. In making the final determination regarding the grant of a new application or the
    renewal of a previously permitted handicapped space, the Chief of Police or his
    designee shall apply the following criteria:
        A. No more than one (1) handicapped parking space shall be issued per
           household.
        B. No more than two (2) handicapped parking spaces shall be located on
           any block where parking is permitted on only both sides of the street.
        C. No more than one (1) handicapped parking space shall be located on any
           block where parking is permitted on only one side of the street.
        D. In the event that previously permitted spaces exceed the maximum
           allowed by block, the Borough, through the Chief of Police or his
           designee, shall refrain from granting any additional spaces in that block
           until the number of handicapped spaces falls below the maximum
           allowed.
        E. No permit shall be granted where adequate handicapped accessible off-
           street parking is available.
        F. No permit shall be granted if the address does not have a vehicle
           registered at the address requested.
        G. All applicants must meet at least one (1) of the following requirements,
           and shall provide verification of the same, in writing, provided by treating
           physician of applicant by one of applicant’s treating physicians, with said
           verification to be signed by the treating physician:
              i.   The applicant is wheelchair bound;
             ii.   The applicant has severe cardiopulmonary insufficiency
                   requiring the use of ambulatory oxygen;
            iii. The applicant requires use of a prosthetic device(s) that restricts
                   normal ambulation; and/or
            iv.    The person requesting a permit is caring for a person who meets
                   one of the criteria of (i), (ii) and/or (iii).

 4. In considering whether or not to grant new applications or renewal applications
    for the erection of a sign or signs from a handicapped person or severely disabled
    veteran under the provisions of this Ordinance, the Chief of Police or his
    designee shall consider the health, safety and welfare of the Borough and shall
    have the authority to deny such applications, or modify such applications.

 5. In the event there is a material improvement in the physical condition of the
    applicant to the extent that the applicant would no longer qualify under the
    criteria set forth herein, the special parking privilege shall terminate and be
    withdrawn and the handicapped parking space shall be removed. Likewise, the
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             handicapped parking space shall be removed if there is a change in the
             circumstances such that the handicapped parking space shall no longer be
             appropriate under the criteria referred to herein. Further, any misstatement,
             error, incomplete or misleading representation or application or part thereof shall
             nullify any grant, and the special parking forfeited and parking space removed.

          6. A parking spot so designated as being for a handicapped person or severely
             disabled veteran will be open to anyone with an appropriate plate or placard for
             their vehicle.

          7. Severability. If any provision of this Ordinance or the application thereof to any
             person or circumstances is held invalid, such holding shall not affect the other
             provisions or applications of this Ordinance which can be given effect without
             the invalid provision or application, and to this end, the provisions of this
             Ordinance are declared severable.

          8. All Ordinances or parts of Ordinances which are inconsistent herewith are
             hereby repealed to the extent of such inconsistency.

          9. Effective Date. This Ordinance shall become immediately effective upon the
             date of execution.

      ORDAINED AND ENACTED THIS 14th day of February, 2019.


ATTEST:                                             BOROUGH OF WEST VIEW


____________________________                        ______________________________
Police Chief Bruce A. Fromlak                       William F. Aguglia
Borough Secretary                                    Council President


Approved as to form:


____________________________
Mayor John R. Henry
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               IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                                         PENNSYLVANIA

               DAVID URBAN, JANE LINK, GERALD
               MACKRELLA and FAIR HOUSING
               PARTNERSHIP OF GREATER PITTSBURGH,

                                         Plaintiffs,                 Civil Action No.:

                                         v.

               BOROUGH OF WEST VIEW, PENNSYLVANIA, Electronically Filed


                                         Defendant.




                                                       VERIFICATION

                     To my knowledge and belief, I verify under penalty of perjury that the foregoing facts set

             out in the Verified Complaint are true and correct.



                                                                               
             ____________________________________                        Date:___________________
             Jane Link
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                       Case 2:22-cv-00938-WSS Document 1 Filed 06/27/22 Page 34 of 35




               IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
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                                         Defendant.




                                                             VERIFICATION

                     To my knowledge and belief, I verify under penalty of perjury that the foregoing facts set

             out in the Verified Complaint are true and correct.



                                                                                 
             ____________________________________                           Date:___________________
             Gerald Mackrella
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                           Case  2:22-cv-00938-WSS Document 1 Filed 06/27/22 Page 35 of 35




                IN THE UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF
                                          PENNSYLVANIA

                DAVID URBAN, JANE LINK, GERALD
                MACKRELLA and FAIR HOUSING
                PARTNERSHIP OF GREATER PITTSBURGH,

                                        Plaintiffs,                    Civil Action No.:

                                        v.

                BOROUGH OF WEST VIEW, PENNSYLVANIA, Electronically Filed


                                        Defendant.




                                                       VERIFICATION

                       To my knowledge and belief, I verify under penalty of perjury that the foregoing facts set

              out in the Verified Complaint are true and correct.


                                                                                   
              ____________________________________                         Date:___________________
              Megan Confer-Hammond
              Executive Director
              Fair Housing Partnership of Greater Pittsburgh
